     Case: 1:10-cv-02748 Document #: 11 Filed: 05/26/10 Page 1 of 2 PageID #:38




                                              In The
                      United States District Court
            For the Northern District Of Illinois, Eastern Division
JOHN F. TAMBURO                               )
     Plaintiff                                )
                                              )
-against-                                     )
                                              )       Case Number: 10-CV-2748
NCO FINANCIAL SYSTEMS, INC.                   )       Judge Pallmeyer
     Defendant                                )       Magistrate Judge Schenkier


                          PLAINTIFF’S MOTION TO STRIKE
                     THE DEFENDANT’S AFFIRMATIVE DEFENSES

       NOW COMES BEFORE THIS HONORABLE COURT your Plaintiff, John F. Tamburo

(“John”), appearing pro se and respectfully moving this court to strike the Affirmative Defenses

against the Complaint, as filed by the Defendant on May 26, 2010. In support of his motion,

John states:

1.     The First Amended Complaint (ECF Doc. No. 1) was filed on May 1, 2010, and duly

       served upon the Defendant’s agent in Chicago.

2.     On May 26, 2010, Defendant filed an answer to the Complaint (ECF Doc. No. 8); said

       answer included five affirmative defenses.

3.     As set forth in the attached memorandum of law, the Defendant’s affirmative defenses

       are bare conclusions and therefore in violation of Fed. R. Civ. P. 8(a), or fail to state a

       claim. They must all therefore be stricken.




                                                  1
     Case: 1:10-cv-02748 Document #: 11 Filed: 05/26/10 Page 2 of 2 PageID #:39




                                           RELIEF

       Wherefore, PREMISES CONSIDERED, John respectfully prays that this court strike all

of the Defendant’s affirmative defenses.

       DATED May 26, 2010:

/s/ John F. Tamburo____________________________
John F. Tamburo
Plaintiff
PO Box 1656
Frankfort IL 60423
815-464-5010




                                             2
